             UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT


                             No. 24-30223


    Frisard’s Transportation, L.L.C.; Louisiana Motor Transport
   Association, Incorporated; A & B Group, Incorporated; Triple G
 Express, Incorporated; Northlake Moving and Storage, Incorporated,

                        Plaintiffs - Appellants

                                   v.

United States Department of Labor; Julie A. Su, in her official capacity
as Acting Secretary, U.S. Department of Labor; Jessica Looman, in her
 official capacity as Administrator of the Wage and Hour Division; and
      United States Department of Labor, Wage and Hour Division,

                        Defendants - Appellees

          On Appeal from the United States District Court
                for the Eastern District of Louisiana
         Case No. 2:24-cv-00347-L Honorable Eldon E. Fallon

                   APPELLANTS’ OPENING BRIEF

M.E. Buck Dougherty III                     James Baehr
Reilly Stephens                             Sarah Harbison
Liberty Justice Center                      Pelican Center for Justice
13341 W. U.S. Hwy. 290, Bldg. 2             400 Poydras Street, # 900
Austin, Texas 78737                         New Orleans, LA 70130
Telephone (512) 481-4400                    Telephone (504) 475-8407
bdougherty@libertyjusticecenter.org         james@pelicaninstitute.org
rstephens@libertyjusticecenter.org          sarah@pelicaninstitute.org
Attorneys for Plaintiffs-Appellants


                                   i
           CERTIFICATE OF INTERESTED PERSONS

  1. Pursuant to Fifth Circuit Rule 28.2.1, Plaintiffs-Appellants file

this Certificate of Interested Persons. The case number, style, and

complete case caption of all parties is on the preceding cover page.

  2. The undersigned counsel of record certifies that the following

listed persons and non-governmental entities have an interest in the

outcome of this case. These representations are made in order that the

judges of this Court may evaluate possible disqualification or recusal.

     a.    Frisard’s Transportation, L.L.C.

     b.    Louisiana Motor Transport Association, Incorporated

     c.    A & B Group, Incorporated

     d.    Triple G Express, Incorporated

     e.    Northlake Moving & Storage, Incorporated

  3. Defendants-Appellees are the United States Department of Labor;

Julie A. Su, in her official capacity as Acting Secretary, United States

Department of Labor; Jessica Looman, in her official capacity as

Administrator of the Wage and Hour Division; and United States

Department of Labor, Wage and Hour Division (collectively, the “DOL”).

  4. These DOL Defendants-Appellees are represented in this appeal



                                    ii
by Alisa Beth Klein and Joseph Forrest Busa, attorneys with the

United States Department of Justice.



                           /s/ James Baehr
                           Attorney for Plaintiffs-Appellants




                                  iii
                REQUEST FOR ORAL ARGUMENT

  Plaintiffs-Appellants respectfully request oral argument because of

the significance and importance of the DOL’s independent contractor

classification rule at issue, effective March 11, 2024. Employee or

Independent Contractor Classification Under the Fair Labor Standards

Act, 89 Fed. Reg. 1638 (Jan. 10, 2024) (the “2024 Rule”).

  The 2024 Rule rescinded the existing independent contractor

classification rule promulgated by the DOL in 2021. Independent

Contractor Status Under the Fair Labor Standards Act, 86 Fed. Reg.

1168 (Jan. 7, 2021) (the “2021 Rule”). In rescinding the 2021 Rule, the

DOL acknowledges its new 2024 Rule is a “significant regulatory

action.” 89 Fed. Reg. at 1725.

  Oral argument would help place this case in context among those

recent and older authorities under the Administrative Procedure Act

(the “APA”). And it would help explain the statutory framework of the

Fair Labor Standards Act (“FLSA”) at issue, its application to

independent contractor and employee classification, and the DOL’s legal

authority to rescind agency rules that it recently promulgated.




                                    iv
                                  TABLE OF CONTENTS

CERTIFICATE OF INTERESTED PERSONS......................................... ii

REQUEST FOR ORAL ARGUMENT ...................................................... iv

TABLE OF AUTHORITIES ..................................................................... vii

JURISDICTIONAL STATEMENT ............................................................ 1

ISSUES PRESENTED ............................................................................... 3

INTRODUCTION ....................................................................................... 4

STATEMENT OF THE CASE ................................................................... 6

     A. Factual Background......................................................................... 6

         1. DOL’s 2021 Rule .......................................................................... 6

         2. DOL’s 2024 Rule .......................................................................... 7

         3. Plaintiffs and their Injuries ........................................................ 9

    B. Procedural History .......................................................................... 18

STANDARD OF REVIEW ....................................................................... 19

SUMMARY OF ARGUMENT .................................................................. 20

ARGUMENT ............................................................................................. 21

 I. The district court erred in denying Plaintiffs’ motion for a
    preliminary injunction to set aside the DOL’s unlawful
    2024 Rule ............................................................................................ 21




                                                     v
    A. Plaintiffs are likely to succeed on the merits of their claims
        because the 2024 Rule is arbitrary and capricious in
        violation of the APA ...................................................................... 21

        1. The 2024 Rule is arbitrary and capricious because DOL
           considered only the binary choice of whether to retain or
           rescind the 2021 Rule, without also considering less
           disruptive alternatives ............................................................... 25

         2. The 2024 Rule is arbitrary and capricious because DOL
            failed to consider employers’ reliance interests on the 2021
            Rule ............................................................................................ 29

    B. The district court abused its discretion in its findings because
       the 2024 Rule will irreparably harm the Plaintiffs since they
       will incur substantial financial injury with no guarantee of
       eventual recovery........................................................................... 31

    C. The balance of equities tips in Plaintiffs’ favor for
       issuing a preliminary injunction .................................................. 32

II. This Court may issue a preliminary injunction in favor of
    Plaintiffs and set aside the 2024 Rule because the record is clear,
    and remand would serve no useful purpose ...................................... 33

CONCLUSION ......................................................................................... 34

CERTIFICATE OF SERVICE ................................................................. 35

CERTIFICATE OF COMPLIANCE…………….. .................................... 36




                                                     vi
                              TABLE OF AUTHORITIES

Cases
10 Ring Precision, Inc. v. Jones,
 722 F.3d 711 (5th Cir. 2013) .................................................................. 24
Alabama Ass’n of Realtors v. HHS,
 141 S. Ct. 2485 (2021) ...................................................................... 31, 32
Azar v. Allina Health Servs.,
 139 S. Ct. 1804 (2019) ............................................................................ 23
Boudreaux v. La. State Bar Ass'n,
 86 F.4th 620 (5th Cir. 2023) .................................................................. 33
Castillo v. Givens,
 704 F.2d 181 (5th Cir. 1983) .................................................................... 6
Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc.,
 467 U.S. 837 (1984) ................................................................................ 23
Coal. for Workforce Innovation v. Walsh,
 2022 U.S. Dist. LEXIS 68401 (E.D. Tex. Mar. 14, 2022) ..................... 25
DHS v. Regents of the Univ. of Cal.,
 140 S. Ct. 1891 (2020) ...................................................................... 22, 24
Encino Motorcars, LLC v. Navarro,
 579 U.S. 211 (2016) ................................................................................ 23
Env’t Integrity Project v. EPA,
 425 F.3d 992 (D.C. Cir. 2005) ................................................................ 23
Fed. Commc’ns Comm’n v. Fox Television Stations, Inc.,
 556 U.S. 502 (2009) ................................................................................ 23
Franklin v. Massachusetts,
 505 U. S. 788 (1992) ............................................................................... 22
Larson v. Domestic and Foreign Commerce Corp.,
 337 U.S. 682 (1949) .................................................................................. 1
Michigan v. EPA,
 576 U.S. 743 (2015) .............................................................. 23, 26, 29, 30




                                                  vii
Mock v. Garland,
 75 F.4th 563 (5th Cir. 2023) .................................................................. 20
Moore v. Brown,
 868 F.3d 398 (5th Cir. 2017) ............................................................ 19, 31
Motor Vehicle Mfrs. Ass’n of U.S., Inc. v.
 State Farm Mut. Auto. Ins. Co., 463 U.S. 29 (1983) ................. 22, 24, 29
Nat’l. Cable & Telecomms. Ass’n. v. Brand X Internet Servs.,
 545 U.S. 967 (2005) ................................................................................ 23
Nken v. Holder,
 556 U.S. 418 (2009) ................................................................................ 20
R.J. Reynolds Vapor Co. v. FDA,
 65 F.4th 182 (5th Cir. 2023) .................................................................. 22
Sierra Club v. EPA,
 939 F.3d 649 (5th Cir. 2019) ............................................................ 24, 28
Sierra Club, Lone Star Chapter v. FDIC,
 992 F.2d 545 (5th Cir. 1993) .................................................................. 33
Speaks v. Kruse,
 445 F.3d 396 (5th Cir. 2006) .................................................................. 20
Texas v. Biden,
 10 F.4th 538 (5th Cir. 2021) .................................................................. 32
Texas v. Biden,
 20 F.4th 928 (5th Cir. 2021) .................................................................. 25
Texas v. EPA,
 829 F.3d 405 (5th Cir. 2016) .................................................................. 31
United States v. Silk,
 331 U.S. 704 (1947) .................................................................................. 6
Wages v. White Lions Invs., L.L.C.,
 16 F.4th 1130 (5th Cir. 2021) ........................................................... 25, 32
White v. Carlucci,
 862 F.2d 1209 (5th Cir. 1989) ................................................................ 33
Statutes
28 U.S.C. § 1292 ......................................................................................... 2


                                                   viii
28 U.S.C. § 1331 ......................................................................................... 1
5 U.S.C. § 702 ........................................................................................... 22
5 U.S.C. § 704 ........................................................................................... 22
5 U.S.C. § 706 ....................................................................................... 1, 23
Rules
Fed. R. App. P. 4 ......................................................................................... 2
Fed. R. Civ. P. 57 ........................................................................................ 1
Fed. R. Civ. P. 65 ........................................................................................ 1
Regulations
86 Fed. Reg. 1168 ........................................................................... 6, 28, 32
89 Fed. Reg. 1638 ..............................................................................passim




                                                     ix
                  JURISDICTIONAL STATEMENT

  The district court had jurisdiction under 28 U.S.C. § 1331 because

this claim presents a federal question arising under the APA. The

district court had jurisdiction to review the DOL’s final 2024 Rule

pursuant to 5 U.S.C. §§ 702-703.

  The district court had jurisdiction pursuant to 28 U.S.C. § 2201 and

Fed. R. Civ. P. 57 to grant a declaratory judgment because an actual

controversy exists among the parties. The district court had jurisdiction

pursuant to Fed. R. Civ. P. 65 to grant injunctive relief and set aside

the 2024 Rule and also had jurisdiction pursuant to 5 U.S.C. § 706(2)(A)

to set aside the 2024 Rule alleged to be arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law.

  On March 7, 2024, Plaintiffs filed a motion for a preliminary

injunction to set aside the 2024 Rule. ROA.173-206. The following day

on March 8, 2024, the district court conducted a telephone hearing with

the parties’ counsel and entered a minute order denying Plaintiffs’

motion for a preliminary injunction. ROA.215. The district court’s

telephone hearing denying Plaintiffs’ motion for a preliminary




                                    1
injunction was transcribed by an official court reporter. ROA.296-316.

Plaintiffs filed their notice of appeal on April 8, 2024. ROA.225-26.

   This Court has jurisdiction pursuant to 28 U.S.C. § 1292(a)(1)

because the district court entered an interlocutory order denying

Plaintiffs’ motion for a preliminary injunction. See also Fed. R. App. P.

4(a)(1)(A) and (B)(ii).




                                    2
                     ISSUES PRESENTED

1. Did the district court abuse its discretion in finding that the 2024
  Rule did not harm Plaintiffs, given DOL’s estimated employer costs
  of $148,000,000 in Year 1 and Plaintiffs’ showing of a substantial
  financial injury with no guarantee of eventual recovery?

2. Is the 2024 Rule that rescinded the 2021 Rule arbitrary and
   capricious under the APA because the DOL considered only the
   binary choice of whether to retain or rescind the 2021 Rule, without
   also considering less disruptive alternatives?

3. Is the 2024 Rule arbitrary and capricious under the APA given that
   the DOL summarily rejected employers’ reliance interests on the
   2021 Rule as “unpersuasive?”




                                 3
                           INTRODUCTION

  This case involves the same federal agency—DOL—completely

reversing course on significant regulatory action on how employers

should classify independent contractors and employees. Simply put, the

2024 Rule is unlawful under the APA.

  The DOL concedes the 2024 Rule could adversely affect in a material

way a sector of the economy. The 2024 Rule was promulgated by the

DOL in violation of the APA because it is arbitrary and capricious.

Indeed, in promulgating the 2024 Rule, the DOL considered only the

binary choice of whether to retain or rescind the 2021 Rule, without also

considering less disruptive alternatives. DOL also failed to consider

employers’ reliance interests on the 2021 Rule before rescinding it.

  Plaintiffs filed a motion for a preliminary injunction in the district

court, seeking to set aside the DOL’s 2024 Rule, which took effect three

months ago. The new 2024 Rule rescinded the existing 2021 Rule that

Plaintiffs had relied upon for three years when classifying their

independent owner-operator trucking labor. The district court denied

Plaintiffs’ motion. But the court abused its discretion in denying

Plaintiffs’ motion for a preliminary injunction to set aside the 2024 Rule



                                    4
because it inexplicably found that Plaintiffs had failed to show that they

would suffer an immediate threat of harm from the 2024 Rule.

  This was clear error by the district court. First, the DOL expressly

conceded in the text of the 2024 Rule itself that compliance costs to

employers—such as the Plaintiffs—in Year 1 of the new Rule were

estimated to be $148,000,000. Second, Plaintiffs submitted declarations

in support of their motion for a preliminary injunction stating that they

would incur substantial financial injury with no guarantee of eventual

recovery as a result of the 2024 Rule. Third, the DOL Defendants did

not submit any counter declarations or opposition briefing, and the

district court merely relied upon DOL counsel’s oral arguments in

reaching its factual findings to deny Plaintiffs’ motion.

  This Court should reverse the district court’s decision and issue a

preliminary injunction setting aside the 2024 Rule because it is

arbitrary and capricious under the APA, and because Plaintiffs will

suffer irreparable harm from the 2024 Rule absent injunctive relief.




                                     5
                       STATEMENT OF THE CASE

  A. Factual Background

     1. DOL’s 2021 Rule

  In January 2021, DOL issued a classification rule establishing when

a worker qualifies as either an employee or independent contractor. See

86 Fed. Reg. 1168. DOL promulgated the 2021 Rule “to promote

certainty for stakeholders, reduce litigation, and encourage innovation

in the economy.” Id.

  The DOL’s 2021 Rule reconciled decades of inconsistency and set

forth a formal interpretation of the traditional standards established in

United States v. Silk, 331 U.S. 704 (1947), to provide clarity to

employers when classifying employees and independent contractors.

ROA.95. Specifically, the 2021 Rule found, similarly to this Court in

Castillo v. Givens, 704 F.2d 181 (5th Cir. 1983), that in practice two

factors predominate in determining whether a person should be

considered an employee or an independent contractor: (1) the nature

and degree of the worker’s control over work; and (2) the worker’s

opportunity for profit or loss. ROA.95.




                                     6
  Under the 2021 Rule, if these two key factors give a clear answer,

that is the end of the analysis. ROA.95. But if those factors point in

disparate directions, then there are three additional factors for a court

to consider: (3) the amount of skill required for the work; (4) the degree

of permanence of the working relationship; and (5) whether the work is

part of an integrated unit of production. ROA.96.

        2. DOL’s 2024 Rule

  On January 10, 2024, the DOL issued and published in the Federal

Register the new 2024 Rule, effective March 11, 2024, which rescinded

the 2021 Rule. See 89 Fed. Reg. 1638. DOL promulgated the 2024 Rule

“to rescind and replace the 2021 IC Rule.”1 Id. at 1639.

  The 2024 Rule expressly states that the new Rule “is a ‘significant

regulatory action’ under section 3(f)(1) of Executive Order 12866.” Id. at

1725. A “significant regulatory action” under 3(f)(1) means a rule that is

likely to: “(1) have an annual effect on the economy of $200 million or

more, or adversely affect in a material way a sector of the economy,

productivity, competition, jobs, the environment, public health or safety,




1 DOL refers to the 2021 Rule as the “2021 IC Rule.” See 89 Fed. Reg.

1638.

                                     7
or state, local, or tribal governments or communities.” Id. “Total

regulatory familiarization costs to businesses in Year 1 [of the 2024

Rule] are estimated to be $148,749,744 ($52.80 × 1 hour × 2,817,230) in

2022 dollars.” Id. at 1733.

  Unlike the 2021 Rule, the 2024 Rule prescribes a “totality of the

circumstances” analysis, including six nonexclusive factors that a court

could look to when determining employee status: (1) workers’

opportunity for profit or loss depending on managerial skill; (2)

investments made by worker and employer; (3) degree of permanence of

the work relationship; (4) nature and degree of businesses’ control over

the worker; (5) the extent to which work performed is an integral part of

the potential employer’s business; and (6) whether the worker uses

specialized skills in performing the work. Id. at 1640.

  The DOL claimed that it is not “obligated to wait for more time to

gather data before rescinding the 2021 IC Rule and promulgating a new

rule.” Id. at 1660. The DOL did acknowledge that it is “mindful of the

impact that changes in the Department’s guidance may end up having

on the regulated community” by rescinding and replacing the 2021

Rule. Id. But despite this acknowledgment and recognition that the



                                    8
2024 Rule is a “significant regulatory action,” with costs to businesses

in Year 1 of the Rule projected to be $148,000,000, the DOL said that

stakeholder reliance interest on the 2021 Rule is “unpersuasive.” Id. at

1660, 1725, and 1733.

     3. Plaintiffs and Their Injuries

                    Frisard’s Transportation, L.L.C.

  Since 2014, Plaintiff Frisard’s Transportation, L.L.C. has been a

family-owned trucking company specializing in transporting finished

goods to stock the shelves of supermarkets and other retail stores,

among other cargo, that relies on independent contracting labor as a

core necessity of its business. ROA.126-27.

  Frisard’s is an employer subject to the FLSA, the 2021 Rule, and the

2024 Rule. ROA.127. Frisard’s has relied on the 2021 Rule since its

effective date of March 8, 2021, when classifying its independent-

contracting labor. ROA.127. Frisard’s has gross sales of more than

$500,000 per year, frequently hauls goods across state lines, and

frequently employs independent contractors to drive trucks to fulfill

Frisard’s clients’ needs. ROA.127.




                                     9
  Frisard’s transports cargo throughout the southern and eastern

United States, from Texas and Nebraska to Maryland and Florida,

wherever its customers need cargo delivered. ROA.127. Frisard’s

contracts with more than thirty owner-operated independent drivers

who own their own trucks, decide which loads to carry or not, and who

are paid a flat percentage of shipping fee for a given load, plus

reimbursable expenses such as fuel which are passed on to the client.

ROA.127. Frisard’s utilizes only independent owner operators to make

deliveries and employs no in-house drivers. ROA.127. By contrast, a

related but separate company, Frisard’s Trucking Co., employes a staff

of in-house drivers who drive company-owned trucks, are typically paid

on a salary or hourly wage basis, provided a benefits package, and are

required to work set hours and carry loads as assigned. ROA.127.

  Frisard’s use of independent owner-operators is beneficial to both

Frisard’s itself, which is able to operate more efficiently and reduce

excess costs, and to Frisard’s independent contractors, who assume

more responsibility for their own business operations but gain

autonomy and the opportunity to derive greater profit from their work.

ROA.127-28.



                                    10
  Frisard’s will incur substantial financial injury with no guarantee of

eventual recovery as a result of the 2024 Rule. ROA.128. For example,

the 2024 Rule threatens to upend Frisard’s business operations,

increasing costs, depriving truckers of the opportunity to operate

independently within their own business, and potentially driving many

of the independent contractors Frisard’s relies on out of business, or

into different lines of business other than Frisard’s business, depriving

it of needed manpower to deliver cargo wherever its clients need it

delivered. ROA.128.

           Louisiana Motor Transport Association, Incorporated

  Plaintiff Louisiana Motor Transport Association, Incorporated is a

non-profit corporation founded in 1939, and it represents 388 Louisiana

trucking and related industry companies. ROA.131.

  LMTA’s mission is to protect and promote Louisiana’s trucking

industry. ROA.131. Its members include every type of motor carrier in

Louisiana, including related and exempt, intrastate and interstate, and

for-hire and private. ROA.131. LMTA champions the trucking industry

and advocates for its members on laws and regulations in Baton Rouge,

La., and in Washington, D.C. ROA.131.



                                    11
  LMTA’s members are subject to the FLSA, the 2021 Rule, and the

2024 Rule, and they rely on independent contracting labor as a core

necessity of their businesses. ROA.131. Moreover, LMTA’s members

have relied on the 2021 Rule since its effective date of March 8, 2021,

when classifying their independent-contracting labor. ROA.131. LMTA’s

members’ use of independent owner-operators benefits both employer

members, who are able to operate more efficiently and reduce excess

costs, and to members’ independent contractors, who assume more

responsibility for their own business operations but gain autonomy and

the opportunity to derive greater profit from their work. ROA.131.

  LMTA’s members will incur substantial financial injury with no

guarantee of eventual recovery as a result of the 2024 Rule. ROA.131.

For example, the 2024 Rule threatens to upend LMTA’s employer

members’ business operations, increase costs, and deprive independent

owner-operator truckers of the opportunity to work independently

within their own business. ROA.131. Additionally, the 2024 Rule could

potentially drive many of the independent contractors LMTA’s employer

members rely on out of business, or into different lines of business other

than LMTA’s members’ businesses, depriving them of needed



                                   12
manpower to deliver cargo wherever their clients need it delivered.

ROA.132.

                             A & B Group, Inc.

  Plaintiff A & B Group, Inc. is a trucking company in operation since

1995, specializing in delivering liquid and dry bulk long-haul services

and transporting cargo to all 50 U.S. states and Canada. ROA.135.

  A&B is an employer subject to the FLSA, the 2021 Rule, and the

2024 Rule, and it relies on independent contracting labor as a core

necessity of its business. ROA.135. A&B has relied on the 2021 Rule

since its effective date of March 8, 2021, when classifying its

independent contracting labor. ROA.135. A&B has gross sales of more

than $500,000 per year, frequently hauls goods across state lines, and

frequently employs independent contractors to drive trucks to fulfill its

customers’ needs. ROA.135.

  A&B contracts with drivers who own their own trucks, decide which

loads to carry or not, and who are paid based on an agreed-upon

schedule, plus reimbursable expenses such as fuel. ROA.135. A&B also

employs in-house drivers who drive company-owned trucks, are

typically paid on a salary or hourly wage basis, provided a benefits



                                    13
package, and are required to work set hours and carry loads as

assigned. ROA.135. A&B’s use of independent owner-operators is

beneficial to both A&B itself, which is able to operate more efficiently

and reduce excess costs, and to A&B’s independent contractors, who

assume more responsibility for their own business operations but gain

autonomy and the opportunity to derive greater profit from their work.

ROA.135.

  A&B will incur substantial financial injury with no guarantee of

eventual recovery as a result of the 2024 Rule. ROA.136. For example,

the 2024 Rule threatens to upend A&B’s business operations, increasing

costs, depriving truckers of the opportunity to work independently

within their own business, and potentially driving many of the

contractors A&B relies on out of business, or into different lines of

business other than A&B’s business, depriving it of needed manpower

to deliver cargo wherever its clients need it delivered. ROA.136.

                    Northlake Moving and Storage, Inc.

  Plaintiff Northlake Moving and Storage, Inc. is a trucking company

that has operated for over 40 years, specializing in transportation and




                                    14
storage of household goods, office furniture, and special products, and it

transports cargo to 48 U.S states. ROA.138.

  Northlake is an employer subject to the FLSA, the 2021 Rule, and

the 2024 Rule, and it relies on independent contracting labor as a core

necessity of its business. ROA.139. Northlake has relied on the 2021

Rule since its effective date of March 8, 2021, when classifying its

independent contracting labor. ROA.139. Northlake has gross sales of

more than $500,000 per year, frequently hauls goods across state lines,

and frequently employs independent contractors to drive trucks to fulfill

its customers’ needs. ROA.139.

  Northlake contracts with drivers who own their own trucks, decide

which loads to carry or not, and who are paid based on an agreed-upon

schedule, plus reimbursable expenses such as fuel. ROA.139. Northlake

also employs in-house drivers who drive company-owned trucks, are

typically paid on a salary or hourly wage basis, provided a benefits

package, and are required to work set hours and carry loads as

assigned. ROA.139. Northlake’s use of independent owner-operators is

beneficial to both Northlake itself, which is able to operate more

efficiently and reduce excess costs, and to Northlake’s independent



                                    15
contractors, who assume more responsibility for their own business

operations but gain autonomy and the opportunity to derive greater

profit from their work. ROA.139.

  Northlake will incur substantial financial injury with no guarantee

of eventual recovery as a result of the 2024 Rule. ROA.139. For

example, the 2024 Rule threatens to upend Northlake’s business

operations, increasing costs, depriving truckers of the opportunity to

work independently within their own business, and potentially driving

many of the contractors Northlake relies on out of business, or into

different lines of business other than Northlake’s business, depriving it

of needed manpower to deliver cargo wherever its clients need it

delivered. ROA.139-40.

                           Triple G. Express, Inc.

  Plaintiff Triple G. Express, Inc. is a family-owned trucking company

that has operated since 1985 and is an intermodal carrier serving the

Port of New Orleans Markets. ROA.142. Triple G transports cargo

throughout the Southeastern United States, including Louisiana,

Texas, Mississippi, and Alabama, wherever their clients and customers

need cargo delivered. ROA.143.



                                   16
  Triple G is an employer subject to the FLSA, the 2021 Rule, and the

2024 Rule, and it relies on independent contracting labor as a core

necessity of its business. ROA.143. Triple G has relied on the 2021 Rule

since its effective date of March 8, 2021, when classifying its

independent contracting labor. ROA.143. Triple G has gross sales of

more than $500,000 per year, frequently hauls goods across state lines,

and frequently employs independent contractors to drive trucks to fulfill

its customers’ needs. ROA.143.

    Triple G contracts with 100 independent drivers who own their own

trucks, decide which loads to carry or not, and who are paid based on an

agreed-upon schedule, plus reimbursable expenses such as fuel.

ROA.143. Triple G utilizes only independent owner-operators to make

deliveries and employs no in-house drivers. ROA.143. Triple G’s use of

independent owner-operators is beneficial to both Triple G’s itself,

which is able to operate more efficiently and reduce excess costs, and to

Triple G’s independent contractors, who assume more responsibility for

their own business operations but gain autonomy and the opportunity

to derive greater profit from their work. ROA.143.




                                    17
  Triple G will incur substantial financial injury with no guarantee of

eventual recovery as a result of the 2024 Rule. ROA.144. For example,

the 2024 Rule threatens to upend Triple G’s business operations,

increasing costs, depriving truckers of the opportunity to work

independently within their own business, and potentially driving many

of the contractors Triple G relies on out of business, or into different

lines of business other than Triple G’s business, depriving it of needed

manpower to deliver cargo wherever its clients need it delivered.

ROA.144.

  B. Procedural History

  On February 8, 2024, Plaintiff Frisard’s filed a complaint for

declaratory and injunctive relief against the DOL Defendants. ROA.7.

On March 7, 2024, Frisard’s amended its complaint pursuant to Fed. R.

Civ. P. 15(a) to include the additional Plaintiffs as parties. ROA.89.

That same day, the Plaintiffs also filed a motion for a preliminary

injunction to set aside the 2024 Rule.2 ROA.173-206.




2 Plaintiffs further filed a separate motion for an emergency temporary

restraining order to postpone the 2024 Rule from taking effect on March
11, 2024, which is not part of this interlocutory appeal. ROA.118.

                                     18
  The following day, in a telephonic hearing, the district court denied

the Plaintiffs’ motion for a preliminary injunction. ROA.315-16. The

court concluded that the Plaintiffs failed at least the irreparable harm

preliminary injunction factor and said, “In this case it appears to me

that the question of immediate harm hasn’t been shown.” ROA.315. The

district court further said, “So because there’s no immediate threat of

harm or immediate harm, if there is harm, there's adequate opportunity

for the person who is harmed to show specifically what the harm is and

how the individual has been harmed.” ROA.315.

                       STANDARD OF REVIEW

  Courts review denial of a preliminary injunction for abuse of

discretion. Moore v. Brown, 868 F.3d 398, 402 (5th Cir. 2017). “Factual

findings are reviewed for clear error, while legal conclusions are

reviewed de novo.” Id. at 403.

  A court must issue a preliminary injunction “if the movant

establishes: (1) a substantial likelihood of success on the merits, (2) a

substantial threat of irreparable injury if the injunction is not issued,

(3) that the threatened injury if the injunction is denied outweighs any

harm that will result if the injunction is granted, and (4) that the grant



                                    19
of an injunction will not disserve the public interest.” Speaks v. Kruse,

445 F.3d 396, 399-400 (5th Cir. 2006) (quotation omitted). “The

government’s and the public’s interests merge when the government is

a party.” Mock v. Garland, 75 F.4th 563, 577 (5th Cir. 2023) (citing

Nken v. Holder, 556 U.S. 418, 435 (2009)).

                     SUMMARY OF ARGUMENT

  First, the district court erred in denying Plaintiffs’ motion for a

preliminary injunction. The 2024 Rule is arbitrary and capricious under

the APA as a matter of law. DOL considered only the binary choice of

whether to retain or rescind the 2021 Rule, without also considering

less disruptive alternatives. The 2024 Rule is also arbitrary and

capricious because DOL did not consider employers’ reliance interests

on the 2021 Rule, summarily rejecting such interests as “unpersuasive.”

And the court abused its discretion in its factual findings because the

record shows that Plaintiffs would incur substantial financial injury

with no guarantee of eventual recovery as a result of the 2024 Rule.

  Second, this Court should reverse the district court and render a

preliminary injunction in Plaintiffs’ favor to set aside the 2024 Rule.




                                    20
                              ARGUMENT

  I. The district court erred in denying Plaintiffs’ motion for
     a preliminary injunction to set aside the DOL’s unlawful
     2024 Rule.

  The district court erred in denying Plaintiffs’ motion for a

preliminary injunction. This Court should reverse the district court’s

decision to deny Plaintiffs’ motion, enter a preliminary injunction in

Plaintiffs’ favor, and set aside the 2024 Rule because it is unlawful.

  A preliminary injunction is warranted because Plaintiffs are likely to

succeed on the merits of their claims since the 2024 Rule is arbitrary

and capricious under the APA; the factual record reflects they will

suffer irreparable harm by incurring substantial financial injury with

no guarantee of eventual recovery as a result of the 2024 Rule; and the

balancing of equities tilts in their favor when weighing whether to issue

a preliminary injunction.

     A. Plaintiffs are likely to succeed on the merits of their
        claims because the 2024 Rule is arbitrary and capricious
        in violation of the APA.

  Plaintiffs are likely to succeed on the merits of their claims because

DOL’s promulgation of the 2024 Rule was arbitrary and capricious in

violation of the APA.



                                    21
  The APA “sets forth the procedures by which federal agencies are

accountable to the public and their actions subject to review by the

courts.” Franklin v. Massachusetts, 505 U. S. 788, 796 (1992). Under the

APA, a person wronged by federal agency action “is entitled to judicial

review thereof.” 5 U.S.C. § 702. The APA further allows judicial review

for “final agency action for which there is no other adequate remedy in a

court.” 5 U.S.C. § 704. An agency must defend its actions based on

contemporaneous reasons it gave when it acted and may not engage in

post hoc rationalizations. See generally DHS v. Regents of the Univ. of

Cal., 140 S. Ct. 1891 (2020).

  Specifically, where, as here, “an agency rescinds a prior policy[,] its

reasoned analysis must consider the alternatives that are within the

ambit of the existing policy.” Id. at 1913 (citing Motor Vehicle Mfrs.

Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29 (1983)).

When changing course, an agency must account for “serious reliance

interests” its “longstanding policies may have engendered.” Regents,

140 S. Ct. at 1913. Indeed, such a policy change is colloquially known as

the “surprise switcheroo” doctrine. R.J. Reynolds Vapor Co. v. FDA, 65

F.4th 182, 189, n. 6 (5th Cir. 2023) (citing Azar v. Allina Health Servs.,



                                    22
139 S. Ct. 1804, 1810 (2019); Env’t Integrity Project v. EPA, 425 F.3d

992, 996 (D.C. Cir. 2005)). And failure to consider “relevant factors” will

render “an agency’s decreed result” unlawful. Michigan v. EPA, 576

U.S. 743, 750 (2015). These requirements ensure that an agency has

engaged in “reasoned decisionmaking.” Id.

  To be sure, agencies are “free to change their existing policies,” as

long as “they provide a reasoned explanation for the change.” Encino

Motorcars, LLC v. Navarro, 579 U.S. 211, 221 (2016) (citing Nat’l. Cable

& Telecomms. Ass’n. v. Brand X Internet Servs., 545 U.S. 967, 981-82

(2005)); see also Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467

U.S. 837 (1984). But the agency must “show that there are good reasons

for the new policy.” Encino, 579 U.S. at 222 (citing Fed. Commc’ns

Comm’n v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009)).

  The APA forbids an agency from acting in an arbitrary and

capricious manner in promulgating rules. See 5 U.S.C. § 706(2)(A).

Agency action is arbitrary and capricious if:

           the agency has relied on factors which Congress
           has not intended it to consider, entirely failed to
           consider an important aspect of the problem,
           offered an explanation for its decision that runs
           counter to the evidence before the agency, or is so
           implausible that it could not be ascribed to a


                                    23
           difference in view or the product of agency
           expertise.

Motor Vehicle Mfrs., 463 U.S. at 43. A court must “ensure that the

agency ‘examined the relevant data and articulated a satisfactory

explanation for its action.’” Sierra Club v. EPA, 939 F.3d 649, 664 (5th

Cir. 2019) (quoting 10 Ring Precision, Inc. v. Jones, 722 F.3d 711, 723

(5th Cir. 2013)).

  An agency’s failure to consider alternatives within the ambit of

existing policy is fatal to an agency’s new policy because an agency thus

fails to “consider important aspects of the problem before [it],” and that

“omission alone causes agency action to be arbitrary and capricious.”

Motor Vehicle Mfrs., 463 U.S. at 43. And an agency must assess

whether there were reliance interests, determine whether they were

significant, and weigh any such interests against competing policy

concerns. Regents, 140 S. Ct. at 1915.

  By failing to consider alternatives within the ambit of the existing

2021 Rule, DOL failed to meet these established standards under the

APA. As discussed below, the 2024 Rule is arbitrary and capricious

under the APA because DOL: (1) considered only the binary choice of

whether to retain or rescind the 2021 Rule, without considering less


                                    24
disruptive alternatives; and (2) failed to consider employers’ reliance

interests on the 2021 Rule.

         1. The 2024 Rule is arbitrary and capricious because
            DOL considered only the binary choice of whether to
            retain or rescind the 2021 Rule, without also
            considering less disruptive alternatives.

   The 2024 Rule is arbitrary and capricious because DOL considered

only the binary choice of whether to retain or rescind the 2021 Rule

without considering less disruptive alternatives.

   “In short, agency action is arbitrary and capricious when the agency

considers only the binary choice of whether to retain or rescind a policy,

without also ‘considering less disruptive alternatives.’” Coal. for

Workforce Innovation v. Walsh, 2022 U.S. Dist. LEXIS 68401, *49 (E.D.

Tex. Mar. 14, 2022) (citing Texas v. Biden, 20 F.4th 928, 992 (5th Cir.

2021) (quoting Wages v. White Lions Invs., L.L.C., 16 F.4th 1130, 1139

(5th Cir. 2021))).

   Here, the 2024 Rule acknowledges that DOL promulgated the 2024

Rule “to rescind and replace the 2021 IC Rule.” 89 Fed. Reg. at 1639.

DOL made clear in the 2024 Rule itself that it wanted to switch course,

burn the 2021 Rule to the ground, and start over. In other words, the

2024 Rule is clear that DOL began with its conclusion—rescind and


                                    25
replace the 2021 Rule—then worked backwards in unreasoned and

haphazard fashion in an attempt to connect the dots to muster support

showing why the 2021 Rule should be rescinded. This is not “reasoned

decisionmaking.” Michigan, 576 U.S. at 750.

  The 2024 Rule provides conclusory and unsupported allegations on

why the 2021 Rule needed to be rescinded, but does not offer any actual

analysis on how the DOL might have promulgated a less disruptive new

rule. The 2024 Rule does mention four “alternatives” to rescinding the

2021 Rule. 89 Fed. Reg. at 1660. But upon closer review, these

“alternatives” consider only the binary choice of whether to retain or

rescind the 2021 Rule, without considering less disruptive alternatives.

  DOL concedes it rejected the first two “alternatives” out of hand

before the final 2024 Rule, and they were not within the ambit of the

existing 2021 Rule, nor did DOL provide analysis on how they might be

less disruptive to a complete rescission of the 2021 Rule. Id.

  The third “alternative” was for the DOL “to only partially rescind the

2021 IC Rule.” 89 Fed. Reg. at 1661. In other words, it was binary

because DOL considered retaining some of the 2021 Rule and

rescinding the rest. It is also not an alternative within the ambit of the



                                    26
existing 2021 Rule, particularly given that DOL admits it did not

monitor data on the effects of the 2021 Rule as further discussed below.

  And DOL’s fourth proposed “alternative”—rescinding the 2021 Rule

entirely to provide “guidance”—is a binary choice between complete

rescission while retaining some guidance. It is also not an alternative

within the ambit of the 2021 Rule. DOL clearly wanted to do away with

the 2021 Rule entirely, which is unlawful under well-established

principles within the APA’s legal framework. 89 Fed. Reg. at 1661.

  Moreover, DOL stated in the 2024 Rule that it is not “obligated to

wait for more time to gather data before rescinding the 2021 IC Rule

and promulgating a new rule.” 89 Fed. Reg. at 1660. In other words,

according to the DOL’s unlawful, rudimentary, and unsophisticated

analysis devoid of reasoning, it apparently does not have to review any

data when it promulgates a new rule such as the 2024 Rule and

rescinds an old rule like the 2021 Rule. And the 2021 Rule had been in

effect for three years, so DOL did not have to “wait” to gather such data,

which could inform its decisionmaking in coming up with less disruptive

alternatives to a complete rescission of the 2021 Rule. The DOL’s

approach was instead to take a sledgehammer to the 2021 Rule and



                                    27
start over from scratch. Even though it is constrained by law to ensure

that it “examined the relevant data and articulated a satisfactory

explanation for its action.” Sierra Club, 939 F.3d at 664.

  Why would any reasonable federal agency not review data from the

effects of a rule—like the 2021 Rule—that had been in effect for three

years? Particularly when the DOL acknowledged that the 2024 Rule

that would rescind the 2021 Rule is a “significant regulatory action”

with costs to businesses in Year 1 of the new Rule projected to be

$148,000,000. It is inexplicable. And no reasonable agency would make

such a glaring omission of not reviewing data when rescinding a rule as

important and significant as one establishing how businesses must

classify workers. DOL promulgated the 2021 Rule “to promote certainty

for stakeholders, reduce litigation, and encourage innovation in the

economy.” 86 Fed. Reg. at 1168. And then DOL rescinded the 2021 Rule

without analyzing any data to see if it accomplished its goal.

  Consider the data DOL could have reasonably monitored with

minimal effort to determine if the 2021 Rule achieved its purpose:

questionnaires sent to stakeholders to conduct a survey on whether the

2021 Rule promoted certainty as it claimed; an analysis of court filings



                                    28
and relevant litigation both before and after promulgation of the 2021

Rule to determine if it reduced litigation; and an assessment on the

number of workers being classified as employees versus independent

contractors and the relevant impact on the economy and innovation.

  DOL ’s failure to review data on the effects of the 2021 Rule before

rescinding it means it failed to “consider important aspects of the

problem before [it],” and this “omission alone causes agency action to be

arbitrary and capricious.” See Motor Vehicle Mfrs., 463 U.S. at 43.

Moreover, DOL’s explanation for its decision that it was not obligated to

monitor data on the effects of the 2021 Rule before rescinding it “is so

implausible that it could not be ascribed to a difference in view or the

product of agency expertise.” See id. Additionally, its failure to consider

“relevant factors” like data on the 2021 Rule before rescinding it

renders the 2024 Rule unlawful because DOL did not engage in

“reasoned decisionmaking.” See Michigan, 576 U.S. at 750.

         2. The 2024 Rule is arbitrary and capricious because
            DOL failed to consider employers’ reliance interests
            on the 2021 Rule.

  DOL failed to consider employers’ reliance interests on 2021 Rule,

and the Plaintiffs’ declarations show that they have relied on the 2021



                                    29
Rule since its effective date of March 8, 2021, when classifying their

independent contracting trucking labor.

  Although DOL acknowledged that it is “mindful of the impact that

changes in the Department’s guidance may end up having on the

regulated community” by rescinding the 2021 Rule, it then summarily

dismissed that impact and said that stakeholder reliance interest on the

2021 Rule is “unpersuasive.” 89 Fed. Reg. at 1660.

  But a federal agency like the DOL is required to assess whether

there were reliance interests, determine whether those interests were

significant, and weigh any such interests against competing policy

concerns, see Regents, 140 S. Ct. at 1915—all of which DOL failed to do.

Even assuming arguendo that DOL assessed employer reliance

interests, the 2024 Rule still shows that DOL failed to determine

whether employer reliance interests were significant, and it did not

weigh employer reliance interests against competing policy concerns.

This is unreasoned decisionmaking. See Michigan, 576 U.S. at 750.




                                    30
     B. The district court abused its discretion in its findings
        because the 2024 Rule will irreparably harm the
        Plaintiffs since they will incur substantial financial
        injury with no guarantee of eventual recovery.

  Under the second factor, Plaintiffs would be irreparably harmed

absent a preliminary injunction because the 2024 Rule will cause them

substantial financial injury with no guarantee of eventual recovery.

  “[S]ubstantial financial injury” may be “sufficient to show irreparable

injury,” especially when there is “no guarantee of eventual recovery.”

Texas v. EPA, 829 F.3d 405, 433 (5th Cir. 2016); Alabama Ass’n of

Realtors v. HHS, 141 S. Ct. 2485, 2489 (2021). Further, “complying with

a regulation later held invalid almost always produces irreparable harm

of nonrecoverable compliance costs.” Texas v. EPA, 829 F.3d at 433.

  The district court clearly abused its discretion in finding that

Plaintiffs failed to show an “immediate threat of harm or immediate

harm.” ROA.315; see Moore, 868 F.3d at 403.

  First, the DOL conceded in the text of the 2024 Rule itself that costs

to employers in the new Rule’s first year were estimated to be

$148,000,000. 89 Fed. Reg. at 1733.

  Second, Plaintiffs submitted unopposed declarations in support of

their motion for a preliminary injunction stating that they would incur


                                   31
substantial financial injury with no guarantee of eventual recovery as a

result of the 2024 Rule. ROA.128, 131, 136, 139, 144.

  Finally, the DOL’s sovereign immunity bars Plaintiffs’ ability to

recover costs. See Wages, 16 F.4th at 1142.

        C. The balance of equities tips in Plaintiffs’ favor for
           issuing a preliminary injunction.

  Under the third and fourth preliminary injunction factors, merged

because the government is the defendant, the balance of equities favors

issuing a preliminary injunction because DOL violated the APA when it

promulgated the 2024 Rule.

  It is of the highest public importance that federal agencies follow the

law. See Texas v. Biden, 10 F.4th 538, 559 (5th Cir. 2021) (per curiam).

“[O]ur system does not permit agencies to act unlawfully even in

pursuit of desirable ends.” Alabama Ass'n of Realtors, 141 S. Ct. at

2490.

  Setting aside the unlawful 2024 Rule and restoring the 2021 Rule

that DOL promulgated “to promote certainty for stakeholders, reduce

litigation, and encourage innovation in the economy” is of the highest

public importance. 86 Fed. Reg. at 1168; see Alabama Ass'n of Realtors,

141 S. Ct. at 2490.


                                   32
  II. This Court may issue a preliminary injunction in favor of
      Plaintiffs and set aside the 2024 Rule because the record
      is clear, and remand would serve no useful purpose.

  This Court may issue a preliminary injunction in favor of the

Plaintiffs and set aside the 2024 Rule.

  An appellate court has the power to issue a preliminary injunction.

Boudreaux v. La. State Bar Ass'n, 86 F.4th 620, 640 (5th Cir. 2023)

(rendering a preliminary injunction to prevent bar association from

requiring a person to join or pay dues). Moreover, in the absence of

factual findings from a district court, “[an appellate court] will

only review the district court’s injunction decision when the record is

exceptionally clear and remand would serve no useful purpose.” Sierra

Club, Lone Star Chapter v. FDIC, 992 F.2d 545, 551 (5th Cir.

1993) (quoting White v. Carlucci, 862 F.2d 1209, 1210 n.1 (5th Cir.

1989)).

  Here, despite the district court’s clear abuse of discretion in finding

the 2024 Rule did not harm the Plaintiffs, the factual record in this case

is clear because there is no dispute that the DOL estimated the 2024

Rule would cost employers $148,000,000 in the new Rule’s first year,




                                     33
and Plaintiffs would incur substantial financial injury with no

guarantee of eventual recovery as a result of the 2024 Rule.

  Accordingly, remand to the district court to develop the factual

record would serve no useful purpose, and this Court may issue a

preliminary injunction in favor of the Plaintiffs and set aside the

unlawful 2024 Rule.

                            CONCLUSION

  For these reasons, Plaintiffs respectfully request that the Court

reverse the district court and render a preliminary injunction in favor of

Plaintiffs and set aside the 2024 Rule.



June 17, 2024                                 Respectfully submitted,


                                              /s/ James Baehr
M.E. Buck Dougherty III*                      James Baehr
Reilly Stephens                               Sarah Harbison
Liberty Justice Center                        Pelican Center for Justice
13341 W. U.S. Hwy. 290, Bldg. 2               400 Poydras Street, # 900
Austin, Texas 78737                           New Orleans, LA 70130
Telephone (512) 481-4400                      Telephone (504) 475-8407
bdougherty@libertyjusticecenter.org           james@pelicaninstitute.org
rstephens@libertyjusticecenter.org            sarah@pelicaninstitue.org

*pending application to the Fifth Circuit

Attorneys for Plaintiffs-Appellants


                                      34
                     CERTIFICATE OF SERVICE

  I certify that on June 17, 2024, I caused a copy of the foregoing

document to be served on all registered counsel of record via the Court’s

ECF filing system.

                            /s/ James Baehr
                            Attorney for Plaintiffs-Appellants




                                   35
                 CERTIFICATE OF COMPLIANCE

  1. This document complies with the type-volume limit of Fed. R. App.

P. 32(a)(7)(B) because, according to the Word Count software function,

excluding the parts of the document exempted by Fed. R. App. P. 32(f),

it contains 6,150 words.

  2. This document complies with the typeface requirements of Fed. R.

App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P.

32(a)(6) because it was prepared in Word in a proportionally spaced

typeface, using Century Schoolbook 14-point font.



                            /s/ James Baehr
                            Attorney for Plaintiffs-Appellants


June 17, 2024




                                   36
